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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Shiran Canel
                                                     Plaintiff,
v.                                                                     Case No.:
                                                                       1:23−cv−17064
                                                                       Honorable Nancy L.
                                                                       Maldonado
School of the Art Institute of Chicago, et al.
                                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 18, 2024:


         MINUTE entry before the Honorable Gabriel A. Fuentes: In view of the district
court's order today [66], and the referral of limited discovery to the magistrate judge, the
joint settlement status report due on 6/20/24 is stricken and reset to noon on 6/27/24 for
confidential submission to the Court's settlement mailbox. In addition, an on−the−record
joint status report on the parties' views on scope and timetable for limited,
settlement−related discovery and after Rule 26(f) conference is also due at noon 6/27/24
for filing on the docket. Mailed notice. (smb, )




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